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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                        MIAMI DIVISION

                                     CASE NO. 1:24-CV-24066-CMA

    ALAN GUERECA, individually
    and on behalf of all others similarly situated,

                             Plaintiff,
           v.

    MOTORSPORT.TV DIGITAL, LLC,

                             Defendant.


                      [PROPOSED] ORDER TO WITHDRAW AS COUNSEL

          THIS CAUSE comes before the Court upon Plaintiff’s Motion to Permit Arun Ravindran,

   Esq. to Withdraw as Counsel of Record. The Court has considered the motion and the record.

          It is therefore,

          ORDERED AND ADJUDGED that the Plaintiff’s motion is GRANTED.

   The Clerk of the Court is directed to remove Arun Ravindran, Esq. as attorney of record.



   DONE AND ORDERED on this __ day of February 2025.



                                                            ____________________________
                                                            CECILIA M. ALTONAGA
                                                            Chief United States District Judge
